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                       EXHIBIT G
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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MICHIGAN
                                     SOUTHERN DIVISION

                                                          Casc:2: l 3-cr-20707
   UNITED STATES OF AMERICA,                              Jud~c: Battani, Marianne 0.
                                                          MJ: Michelson, Laurie J.
                 V.
                                                          Fikd: 09-26-2013 At 08:37 AM
                                                          INFO USA V HITACHI AUTOMOTIVE SYSTE
                                                           MS, LTD. (HM)
  HITACHI AUTOMOTIVE SYSTEMS, LTD.,
                                                        Violation: 15 U.S.C. § 1
                 Defendant.
  - - - - - - - - - - - - - - ~/


                                           INFORMATION

                                       COUNT ONE
                              CONSPIRACY TO RESTRAIN TRADE
                                       (15 u.s.c. § 1)

  THE UNITED STATES, ACTING THROUGH ITS ATTORNEYS, CHARGES:

                                  Defendant and Co-Conspirators

          I.     Hitachi Automotive Systems, Ltd. ("Defendant") is a corporation organized and

  existing under the laws of Japan with its principal place of business in Tokyo, Japan. During the

  period covered by this Information, Defendant, including its a±liliate Hitachi Automotive

  Systems Americas, Inc.; the former Hitachi Automotive Systems Group of Hitachi, Ltd. , as it

  existed prior to July 1, 2009; the former Hitachi Unisia Automotive, Ltd.; and the former Tokico,

  Ltd., was engaged in the business of manufacturing and selling certain products, including starter

  motors, alternators, air flow meters, valve timing control devices, fuel injection systems,

  electronic throttle bodies, ignition coils, inverters and/or motor generators to Nissan Motor

  Company Ltd., Ford Motor Company, Toyota Motor Corporation, General Motors LLC, Honda

  Motor Company, Ltd., and certain of their subsidiaries, afiiliates and suppliers and others

  ("automobile manufacturers") for installation in vehicles manufactured and sold in the United

  States and elsewhere.
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          2.      Various corporations and individuals, not made defendants in this Information,

  participated as co-conspirators in the offense charged in this Information and performed acts and

  made statements in furtherance of it.

          3.      Whenever in this Information reference is made to any act, deed, or transaction of

  any corporation, the allegation means that the corporation engaged in the act, deed, or transaction

  by or through its officers, directors, employees, agents, or other representatives while they were

  actively engaged in the management, direction, control, or transaction of its business or affairs.

                                      Background of the Offense

          4.      During the period covered by this Information, Defendant, including its affiliate

  Hitachi Automotive Systems Americas, Inc.; the former Hitachi Automotive Systems Group of

  Hitachi, Ltd., as it existed prior to July 1, 2009; the former Hitachi Unisia Automotive, Ltd.; and

  the former Tokico, Ltd., and its co-conspirators supplied starter motors, alternators, air flow

  meters, valve timing control devices, fuel injection systems, electronic throttle bodies, ignition

  coils, inverters and/or motor generators (hereinafter, "automotive parts") to automobile

  manufacturers for installation in vehicles manufactured and sold in the United States and

  elsewhere. During the period covered by this Information, Defendant, including its affiliate

  Hitachi Automotive Systems Americas, Inc.; the former Hitachi Automotive Systems Group of

  Hitachi, Ltd., as it existed prior to July 1, 2009; the former Hitachi Unisia Automotive, Ltd.; and

  the former Tokico, Ltd., and its co-conspirators manufactured automotive parts: (a) in the United

  States and elsewhere for installation in vehicles manufactured and sold in the United States; (b)

  in Japan and elsewhere for export to the United States and installation in vehicles manufactured

  and sold in the United States; and (c) in Japan and elsewhere for installation in vehicles

  manufactured in Japan and elsewhere for export to and sale in the United States.




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          5.      The Defendant, including its affiliate Hitachi Automotive Systems Americas, Inc.;

   the former Hitachi Automotive Systems Group of Hitachi, Ltd., as it existed prior to July 1,

   2009; the former Hitachi Unisia Automotive, Ltd.; and the former Tokico, Ltd., was engaged in

  the manufacture of automotive parts, as defined in Paragraph 4 of this Information. The

  Defendant, including its affiliate Hitachi Automotive Systems Americas, Inc.; the former Hitachi

  Automotive Systems Group of Hitachi, Ltd., as it existed prior to July 1, 2009; the former

  Hitachi Unisia Automotive, Ltd.; and the former Tokico, Ltd., was engaged in the sale of

  automotive parts in the United States and elsewhere, and employed 5,000 or more individuals.

  Automotive parts, as defined in Paragraph 4, means starter motors, alternators, air flow meters,

  valve timing control devices, fuel injection systems, electronic throttle bodies, ignition coils,

  inverters and/or motor generators. Starter motors are small electric motors used in starting

  internal combustion engines. Alternators are electromechanical devices that generate an electric

  current while engines are in operation. Air flow meters measure the volume of air flowing into

  engines. Valve timing control devices control the timing of engine valves' operation, and include

  the VTC actuator and/or solenoid valve. Fuel injection systems admit fuel or a fuel/air mixture

  into engine cylinders, and may include injectors, high pressure pumps, rail assemblies, feed lines

  and other components sold as a unitary system. Fuel injection systems can also be sold as part of

  a broader system, such as an engine management system, or as separate components, such as the

  injectors, feed lines, high pressure pumps, and/or rail assemblies. Electronic throttle bodies

  control the amount of air flowing into engines. Ignition coils release electric energy to ignite the

  fuel/air mixture in cylinders. Inverters convert direct current electricity to alternating current.

  Motor generators are electric motors used to power electric drive systems that can also capture

  energy from the process of stopping a vehicle to generate electricity through regenerative

  braking. When purchasing automotive parts, automobile manufacturers typically issue Requests


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  for Quotation ("RFQs") to automotive parts suppliers on a model-by-model basis for model

  specific parts. Automotive parts suppliers submit quotations, or bids, to the automobile

  manufacturers in response to RFQs, and the automobile manufacturers award the business to the

  selected automotive parts supplier for the lifespan of the model, which is usually four to six

  years. Typically, the bidding process for a particular model begins approximately three years

  prior to the start of production. Automobile manufacturers procure parts for U.S.-manufactured

  vehicles in the United States and elsewhere.

                                    Conspiracy to Restrain Trade

          6.     From at least as early as January 2000 and continuing until at least February 2010,

  the exact dates being unknown to the United States, Defendant and its co-conspirators

  participated in a combination and conspiracy to suppress and eliminate competition in the

  automotive parts industry by agreeing to allocate the supply of, rig bids for, and fix, stabilize,

  and maintain the prices of, certain automotive products sold to automobile manufacturers in the

  United States and elsewhere. The combination and conspiracy engaged in by Defendant and its

  co-conspirators was in unreasonable restraint of interstate and foreign trade and commerce in

  violation of the Sherman Antitrust Act, 15 U.S.C. § 1.

         7.      The charged combination and conspiracy consisted of a continuing agreement,

  understanding, and concert of action among Defendant and its co-conspirators, the substantial

  terms of which were to allocate the supply of, rig bids for, and to fix, stabilize, and maintain the

  prices of, automotive parts sold to automobile manufacturers in the United States and elsewhere.

                               Manner and Means of the Conspiracy

         8.      For purposes of forming and carrying out the charged combination and

  conspiracy, Defendant and its co-conspirators did those things that they combined and conspired

  to do, including, among other things:


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                a.        participating in meetings, conversations, and communications in the

         United States and elsewhere to discuss the bids and price quotations to be submitted to

         automobile manufacturers in the United States and elsewhere;

                b.        agreeing, during those meetings, conversations, and communications, on

         bids and price quotations to be submitted to automobile manufacturers in the United

         States and elsewhere;

                c.        agreeing, during those meetings, conversations, and communications, to

         allocate the supply of automotive parts sold to automobile manufacturers in the United

         States and elsewhere;

                d.        agreeing, during those meetings, conversations, and communications, to

         coordinate price adjustments requested by automobile manufacturers in the United States

         and elsewhere;

                e.        submitting certain bids, price quotations, and price adjustments to

         automobile manufacturers in the United States and elsewhere in accordance with the

         agreements reached;

                f.        selling automotive parts to automobile manufacturers in the United States

        and elsewhere at collusive and noncompetitive prices;

                g.        accepting payment for automotive parts sold to automobile manufacturers

        in the United States and elsewhere at collusive and noncompetitive prices;

                h.        engaging in meetings, conversations, and communications in the United

        States and elsewhere for the purpose of monitoring and enforcing adherence to the

        agreed-upon bid-rigging and price-fixing scheme; and

               1.      employing measures to keep their conduct secret, including, but not

        limited to, using code names and meeting at remote locations.


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                                         Trade and Commerce

          9.     During the period covered by this Information, Defendant, including its affiliate

  Hitachi Automotive Systems Americas, Inc.; the former Hitachi Automotive Systems Group of

  Hitachi, Ltd., as it existed prior to July I, 2009; the former Hitachi Unisia Automotive, Ltd.; and

  the former Tokico, Ltd., and its co-conspirators sold to automobile manufacturers located in

  various states in the United States substantial quantities of automotive parts shipped from outside

  the United States and from other states in a continuous and uninterrupted flow of interstate and

  foreign trade and commerce. In addition, substantial quantities of equipment and supplies

  necessary to the production and distribution of automotive parts sold by Defendant and its co-

  conspirators, as well as payments for automotive parts sold by Defendant and its co-conspirators,

  traveled in interstate and foreign trade and commerce. The business activities of Defendant and

  its co-conspirators in connection with the production and sale of automotive parts that were the

  subject of the charged conspiracy were within the flow of, and substantially affected, interstate

  and foreign trade and commerce.

                                        Jurisdiction and Venue

          10.    The combination and conspiracy charged in this Information was carried out, at

  least in part, in the Eastern District of Michigan within the five years preceding the filing of this

  Information.




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   ALL IN VIOLATION OF TITLE I 5, UNITED STATES CODE, SECTION 1.

   Dated: SEPTEMBER 26, 2013



   s/ SCOTT D. HAMMOND                   s/ LISA M. PHELAN
   Scott D: Hammond                      Lisa M. Phelan
   Deputy Assistant Attorney General     Chief, National Criminal Enforcement Section
   Antitrust Division                    Antitrust Division
   United States Department of Justice   United States Department of Justice



  s/ MARVlN N. PRICE                     s/ MARK C. GRUNDVIG
  Marvin N. Price                        Mark C. Grundvig
  Director of Criminal Enforcement       Kenneth W. Gaul
  Antitrust Division                     Jason D. Jones
  United States Department of Justice    Nikhil P. Pyati
                                         Megan E. Gerking
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                                                                                                                                  MJ: Michelson, Laurie J.
 united States District Court                                                                                                     Filed: ll'J-26-2013 At 118:-B AM
                                                                 Criminal Case Cover Sheet                                        INFO USA V HIT ACHT AUTOMOTIVE SYSTE
 Eastern District of Michigan
                                                                                                                                   MS, LTD. (HM)

NOTE: It is the responsibility of the Trial Attorney signing this form to complete it accurately in all respects.


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     Corrioani6.rtba~ie• lriforrnat16rt                                  ..                               Companion Case Number:                    2: 12-cr-20063
     This may be a compani9n case based upon LCrR 57.10 (b)(4) 1 :                                        Judge Assigned:             Hon. George Caram Steeh

                           IX! Yes                   0No                                                  AUSA's Initials:            (rh )?- -

            Case Title: USA v. Hitachi Automotive Systems, Ltd.

            County where offense occurred : Oakland
                                                                              ----------------------
            Check One:                        IX!   Felony                                   D Misdemeanor                                               DPetty

                                        lndictmenV__{__lnformation --- no prior complaint.
                                        lndictment/__ lnformation --- based upon prior complaint [Case number:
                                        lndictment/__ lnformation --- based upon LCrR 57.10 (d) [Complete Superseding section below].

. ;Super·sediilg:Ca~e lilformation

 Superseding to Case No:                                                                                            Judge:------------
                                                 --------------
                         Original case was terminated; no additional charges or defendants.
                         Corrects errors; no additional charges or defendants.
                         Involves, for plea purposes, different charges or adds counts.
                         Embraces same subject matter but adds the additional defendants or charges below:

                         Defendant name                                                         Charges                              Prior Complaint (if applicable}




 Please take notice that the below listed Trial Attorney is the attorney of record for the above
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                          ate
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                                                                                   Mark C. Grundvig
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                                                                                                                              r

                                                                                   Trial Attorney
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 1Companion cases are matters in which it appears that (1) substantially similar evidence will be offered at trial, (2) the same or related parties are present and the cases arise out of the
 same transaction or occurrence. Cases may be companion cases even though one of them may have already been terminated.                                                           (5/20/13)
